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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION



UNITED STATES OF AMERICA

v.                                                    CASE NO: 8:11-CR-631-T-30MAP

GERMAN ALEXANDER COLON-BERNARDEZ
__________________________________________/


                                         ORDER

       THIS CAUSE comes before the Court upon Defendant’s Motion for Expert

Authorization Pursuant to the CJA Act (Third Motion for Prior Approval of Expert GPS

Services) (Dkt. #208). Upon review and consideration, it is

       ORDERED AND ADJUDGED that:

       1.     Defendant’s Motion for Expert Authorization Pursuant to the CJA Act (Third

Motion for Prior Approval of Expert GPS Services) (Dkt. #208) is GRANTED IN PART

as follows:

              A.     The Court approves up to sixteen (16) hours for defense expert DALE

WALE WASDON to review the proposed government evidence for accuracy and other

issues requested by counsel.

              B.     The Court approves up to four (4) hours for defense counsel to confer

with the defense expert and to prepare for potential testimony in the case.

              C.     The Court approves up to four (4) hours for Mr. Wasdon to be present

during the anticipated testimony of the government GPS expert Tania Reyes.
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                  D.       The Court approves up to four (4) hours for the potential testimony of

Mr. Wasdon.

         2.       In sum, the Court approves up to 28 hours for the above-stated services of the

defense expert at a rate of $95.00 per hour.

         DONE and ORDERED in Tampa, Florida on May 29, 2012.




Copies Furnished To:
Counsel/Parties of Record
Joan Calcutt, CJA Clerk, Orlando


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